Tim A. Pori Case
             (189270)
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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA,                             No. 2:17-CR-53 JAM
                             Plaintiff,

         v.                                             Stipulation and [Proposed] Order for
                                                        Schedule Change for Disclosure of
  JEFFREY REILLEY,                                      Presentence Report and for Filing of
                                                        Objections to the Presentence Report
                            Defendant.



  The above-entitled matter is set before this Court on May 7, 2019 @ 9:15 am for sentencing. In

  order to allow probation and the parties sufficient time to respond probation’s anticipated revised

  presentence report, the parties jointly request that the hearing for judgment and sentence be

  continued to June 25, 2019 at 9:15 a.m., and that the Court exclude time under the Speedy Trial

  Act and local Rule T4 between January 22, 2019 and June 25, 2019. The parties hereby

  STIPULATE and propose the following dates be revised as follows:


  Date of Referral to Probation Officer:                          January 22, 2019
                                                                  (Date of Plea or Verdict)

  Judgment and Sentencing Date:                                   June 25, 2019 @ 9:15 A.M.
                                                                  (At least 14 weeks after plea)

  Reply, or Statement of Non-Opposition:                          June 18, 2019
                                                                  (1 week before sentencing)

  Motion for Correction of the Presentence Report Shall be
                                                                 June 11, 2019
  Filed with the Court and Served on the Probation Officer
  and Opposing Counsel no Later Than:                            (2 weeks before sentencing)
  The Pre-Sentence Report Shall be Filed with the                June 4, 2019
  Court and Disclosed to Counsel no Later Than:
                                                                 (3 weeks before sentencing)
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Report and for Filing of Objections to the Presentence Report
  Counsel’sCase
            written objections to the Presentence
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                                                                  28, 2019
  Shall be Disclosed to Counsel no Later Than:
                                                             (4 weeks before sentencing)


Presentence Report Shall be Disclosed to Counsel no Later     May 14, 2019
Than:                                                         (6 weeks before sentencing)


  Dated: April 10, 2019                             By: /s/ TIM A. PORI_     _
                                                    TIM A. PORI
                                                    Counsel for JEFFREY REILLEY


  Dated: April 10, 2019                             By: /s/ KEVIN KHASIGIAN
                                                    KEVIN KHASIGIAN
                                                    Assistant United States Attorney
                                          ORDER

Based upon the representations of counsel and for good cause shown, IT IS so ORDERED.




  DATED: 4/11/2019                                    /s/ John A. Mendez______________
                                                      HONORABLE JOHN A. MENDEZ
                                                      United States District Court Judge




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